      Case 18-64324-jwc         Doc 28     Filed 02/27/19 Entered 02/27/19 16:30:02                Desc EDO
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                                   UNITED STATES BANKRUPTCY COURT
                                        Northern District of Georgia

In     Denise Elaine Malcolm ("Employee")                  Case No.: 18−64324−jwc
Re:    xxx−xx−4557                                         Chapter: 13
          Debtor
To: Parrallon Enterprise LLC ("Employer")
    335 Crossing Blvd.
    Orange Park, FL 32073

       ORDER TO EMPLOYER TO DEDUCT AND REMIT A PORTION OF DEBTOR'S EARNINGS
                      FOR THE VOLUNTARY PAYMENT OF DEBTS



This is an ORDER of the United States Bankruptcy Court, NOT a garnishment.

The above−named Debtor/Employee has voluntarily filed a petition and plan under Chapter 13 of the United States
Bankruptcy Code seeking to pay, in whole or in part, certain debts under the protection of this Court. These debts are
to be paid by the Chapter 13 Trustee ("Trustee") from the Debtor/Employee's future earnings. Public policy requires
the above−stated Employer to assist in the rehabilitation of the Debtor/Employee to avoid a Chapter 7 liquidation.
The future earnings designated to pay these debts are not used for other purposes; accordingly, it is hereby
   ORDERED that:

1. The above−named Employer shall implement deductions from Debtor/Employee's earned wages as follows:
Employer shall immediately begin withholding from the wages, salary, commission, and all other earnings or income
of Debtor/Employee $ 319.00 bi−weekly and remit same promptly to Trustee no less frequently than once each
month, and shall continue deductions until ordered otherwise by this Court.

2. Employer is enjoined and restrained from discharging, terminating, suspending or discriminating against
Debtor/Employee on account of this earnings deduction order or the filing of a Chapter 13 by Debtor, for to permit
otherwise would render this order a nullity; and in the event of discharge, termination or suspension of
Debtor/Employee for any reason whatsoever, Employer is further ORDERED to notify Trustee of the discharge,
termination, suspension and the specific reason(s) therefor.

3. The Bankruptcy Code is a Federal law that preempts and suspends state garnishment and other collection actions
against Debtor/Employee. The automatic stay of 11 U.S.C. 362, together with other statutes enforcing Chapter 13
enjoin and stay the continuation of any garnishment proceeding and any other acts to proceed further with that
garnishment proceeding. Therefore, if a summons of garnishment concerning Debtor/Employee has been served on
Employer, Employer is enjoined and stayed from making any further deductions from the Debtor/Employee's
earnings on account of said garnishment, and Employer is ORDERED to remit immediately to Trustee any sums
already deducted and not yet paid over to the garnishment court.

4. This order supersedes any previous order issued with respect to the debtor's wages.

MAIL ALL REMITTANCES WITH CASE NAME AND NUMBER TO:
Nancy J. Whaley
Nancy J. Whaley, Standing Ch. 13 Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303


                                                           Jeffery W. Cavender
                                                           United States Bankruptcy Judge
Entered on Docket: February 27, 2019


Form F64 (Revised 06/15/2004)
